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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA


NATASHA CARRIZALES, individually and )                   8:14CV3105
on behalf of NINA CARRIZALES, a minor, )
as her guardian and next friend,       )
                                       )
                   Plaintiff,          )                 JUDGMENT
       v.                              )
                                       )
UNITED STATES OF AMERICA,              )
                                       )
                   Defendant.          )




     Pursuant to the court’s Memorandum and Order filed this date,

      FINAL JUDGMENT IS ENTERED providing that this action is dismissed
without prejudice for lack of subject matter jurisdiction.

     DATED this 10th day of September, 2014.

                                    BY THE COURT:

                                    s/ Richard G. Kopf
                                    Senior United States District Judge
